Appellant took general appeal, without leave, under Acts Nos. 212 and 312, Pub. Acts 1931, from orders of the Michigan public utilities commission, granting permit of public convenience and necessity to appellee, Cloverleaf Motor Truck Transportation Company, to operate common carrier freight service between Kalamazoo, Benton Harbor and St. Joseph.
The only remedy for review by this court, directly from the order of the commission, being by certiorari, leave to appeal was necessary. In re Consolidated Freight Co., 265 Mich. 340; Court Rule No. 60, (1931 and 1933). The appeal must be dismissed and the appellant left to other review provided by statute. While immaterial, it may be said that the record discloses some evidence supporting the order.
The appellees not having filed a brief, the appeal is dismissed, without costs.
NELSON SHARPE, C.J., and NORTH, WIEST, BUTZEL, BUSHNELL, and EDWARD M. SHARPE, JJ., concurred with FEAD, J.